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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA, Cause No.: 3:18-CR-00615-01 WHA
Plaintiff,
vB. Defense Sentencing Memorandum/ Application

, for probation, supervised release, or mitigated
Timothy Melchior, custody sentence.

Defendant

 

 

TO THE HONORABLE JUDGE OF THE ABOVE-ENTITLED COURT AND TO
THE UNITED STATES ATTORNEY FOR THE NORTHERN DISTRICT OF CALIFORNIA:

Defendant Timothy Melchior offers this memorandum in support of his application to
the Court for a grant of probation and supervised release,
Date: Oct. 14, 2020 Lfsif =

Michael Levinsohn
Attorney for Timothy Melchior

MELCITIOR SENTENCING MEMO 1
3:18-CR-00615-01-WITA

 

 

 
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Issue
A defendant who admits his mistakes, is remorseful, is working to make things right, and

is surrounded by a strong support system, deserves the deference and considcration of the Court
for a mitigated sentence, Melchior admitted his responsibility as carly as possible, has been free
on release during the pendency of the matter with no violations and with efforts to improve
himself, has a strong family support system, and is dedicated to a positive life gomg forward.
Should the Court grant him a mitigated sentence?

I. 2 c

Counsel for Melchior regrets not responding per the appropriate rule, though did
initially inquire regarding the application of the First Step Act, and/or the CARES Act as they
may relate to Melchior’s sentencing, in that Mr. Melchior suffers from severe hypertension, and
therefore is candidate for compassionate release due to his high susceptibility to the worst effects
of COVI-19. Counsel was advised that that issue was better addressed in the sentencing
memorandum. Counsel did say further correspondence would be forthcoming, and did not
correspond further with the probation officer. Counsel found no objections or factual

misstatements, but regretfully did not state that to the probation officer.

I. Tie Can ns eee rile a eect

 

Melchior has never denied his responsibility for his actions, and has accepted
responsibility for them. He pleaded guilty before trial, and has been candid in his interview with
the Probation Department. Even before he entered his guilty plea, Melchior has been hard at

work to correct the problems that led him to his current situation. Ile has been involved in

MELCHIOR SENTENCING MEMO 2
3:18-CR-(N)615-01-WHA

 

 

 
 

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extensive in-patient and out-patient treatment for his drug addiction, and has become a counsvlor
for individuals with disabilities of all kinds. He has done his best to marshal his personal and
family resources to put an end to his drug-related conduct and to become as good a person as he
can be. He has a solid plan for the future, and is a candidate for all of the deference the Court can

muster.

iil, Ichi i la

IV. The Co 1) an i ior’s
character and family support.

 

The Presentence Report makes a strong and detailed case for Melchior’s remorse and the
likclibood of him not reoflending. Melchior has worked diligently to adhere to the conditions of
his release, with no violations, and will adhere to any conditions the Court may impose. A
complete recitation of the contents of the Presentence Report is not necessary here, but the Court
is urged to consider the Icttcrs attached from several of Melchior’s family members, his mother,
and from Melchior himself,

Attached as Exhibit A arc Ictters of support, and below are highlights from a few of them.
Note that the first of the documents attached is a letter from Melchior’s mother und the second is
a personal statement from Timothy Melchior himself in which he reitcrates his remorse and his

plan fur going forward in a fully positive manner.

 

 

 

 

 

|Letters of reference:
Alexis Simon Spouse “He is able to hold himself accountable and accept
hee responsibility.” 7 -
|| Tania Weiss Mother of “] think Tim is the best coach that my son has
. treatment client | experienced. Tim goes above and beyond what is
MELCHIOR SENTENCING MEMO 3

3:18-CR-00615-01- WHA

 

 

 
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expected, and that shows in the wonderful relationship
he has with my son. a
|| Joseph Szlamnik | Instructor at “Mr. Melchior has demonstrated his commitment to
Addiction positive change.”
Training
_ Program
Jennifer Jackson | Mother “{ believe that Tim will continue to grow thrive and
Nees | flourish.” te
| ! John Foord Classmate “Resiliency, humility. and attitude.”
Michael Dibley | Classmate “Intelligent, great communicator. Hard working, kind
man.”
Tom Slatton Manager __| “Patience and compassion.” :

 

 

 

Attached to this pleading are numerous additional letters speaking to Melchior’s character.
The Court is directed to Melchior’s own personal statement. Ile is remorseful and hus made
remarkable strides toward his future. He's conquering his addiction. one day at a time, working
with others, and using his experience to assist others with drug and developmental issues. The

Court is encouraged to grant him the least sentence available under the law.

 

‘The Court is encouraged to note the probation officer's lack of objection to self-surrender,
and to grant Melchior release until after the Christmas holidays. First, Melchior has been on
release for over two years since his arrest, with no violations or issues. Second, he suffers from
severe high blood pressure, See, Letter from Dr. Wichelhauss. Exhibit B, and will be applying
for compassionate release, even before having physically presented himself to the prison facility.

It is not clear whether such application will be allowed prior to surrender, but counsel for

MELCHIOR SENTENCING MEMO 4
3:18-CR-00615-01-WHA

 

 

 

 
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Melchior is dedicated to making that attempt given Melchior’s health condition. Due to his
hypertension. Melchior is significantly susceptible to the effects of COVID-19, up to, and
including, death, and asks the Court to allow him to make reasonable efforts to stay free from
incarceration while he applies. for perhaps more Jong term release.

Second. Melchior is recently married and has been developing his sobricty and his family
relationships as much as possible before his incarceration, and requests the ability to continue

that development, both for his clients, his family, and himself before his surrenders.

Conclusion
Because Melchior took carly and meaningful responsibility, because he is remorseful and
is diligently working to better himself, because he has strong family support, and because his
criminal history record over-states the seriousness of his history, the defense urges the Court to
grunt Melchior the minimum sentence available. Melchior also respectfully requests that the
Court grant him the ability to self-surrender after the Christmas and New Year’s holidays.
Date: Oct. 14. 2020 fist

Michael Levinsohn. of Counsel, Silver law Firm,
Attorneys for Timothy Melchior

MELCHIOR SENTENCING MEMO 5
3:18-CR-00615-01-WILA

 

 

 

 
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Letters of Support

 

 
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Te whom & may concern,

| arn writing this leer of character on Sehalf of Timothy Meichior .My
name is Alexis Simon, | am s full time residentiai coordinator for 3 SLS group
home for sdults with disabilities .! oversee 16 individuals in living
indesendenty .| also am a full time citp counselor Supperting adults with
disabilities within the community -! am the wife of Timothy Molchior Jj have
personally known Timothy for over 10 years .He Is my best friend .! have seen
Timothy at his weakest moments. Battling his depression and losing his Ife in
his personal war with addiction . i have been lucky enough to witness the
growth of him s5 an honest man J work siongside Timothy everyday as 5 Citp
counselor _ i get too see the hands on eforis Timothy has put into the
individuals we support . Along wh the commitment he has made within
himself to be e productive member of saciety while Timothy was in center
point residential trestment | believe he found himself and the path he wanted
to De in Ife . where he is adie to hold himself accountadie for his actions and
HiSO ACCES responsibility while in the program Timothy enrolled himself in
school te De a drug an aiconol counselor , He expressed how he wanted to
share his lived-in experience with addiction to keep peopie off the path he
went down to end up where he was Timothy has been able to be present and
involved with his famity everyday. as littie as helping his mom around the
house as much as helping his youngest sister with her math homework
becsuse she still Coesn't understand ine main question . I suppon my
husband to the fullest in his goals in life . As i love him very mucn Task that you
taxe into considermtion the cap program i know Timothy will benelit greatly
from this program . he has fill support from our families, his classmates, his
coworkers . and his peers from the center point program . Who all want
Timothy to succeed in this new chapter in his life . Timothy has never noc this
much support in his life as he dows being the man he is taday -

Thank you for taking the time to reac my letter
Alexis simon

41532862328

Your Name

 
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December 70, 2079
To Whom it May Conceen,

| am writing this letter to: support Tim Melchior in his endeavors to council disabled, and addicted
persons. Tim is the coach of my son who is disabled but has a fot of potential. He has a creative
epproech in counseling my son and also is open to suggestions from me, since ! row him the best. He is
promot in it picking up my son, and his responsiveness in teaching budgeting, cooking and social
interactions has dove-talied into his education of independent living. He is honest in his assessments of
my sons needs and accomplishments. | think Tim is the best coach that my son has experienced, and we
are grateful for Tim working with him. | also think that Tim goes above and beyond what is expected and
that shows in the wonderful relationship he has with my son. My son looks forward toward working with
him every day.

Bast regercs,
Tania L Weiss

 
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November 13, 2019
To Whom It May Concern,

| am writing this fetter on behalf of Timathy Melchior, | have knowm Tim for almost a year and | have had
the wonderful opportunity to get to know him quite well. Tim and | sre both enrolled in the same CCAPP
program in which we are studying to become certified Aicohol and Drug Counselors. it has been mspiring
to watch Tim grow into @ strong leader in the class. He was initially shy and quiet with his peers but has
developed into 2 solid contributing voice of insight for our group. It is clear that Tim has found his calling
and he is making the most of this time in his life to become an actor of change.

Tim often speaks of the work he does and clearly has a passion for it. Tim regularly asks for advice from
our instructor and his peers In regards to how to best help his clients. | feel that this best dermonstrates
Tim's humility and willingness to grow, {tis clear that Tim puts his clients over himself and has 2 genuine
desire to help others. The job he has now takes 2 tremendous amount of patience and empathy, anc #52
result, Tim is demonstrating to his classmates what it looks like to truly be of service to others.

it it clear to me that Tim has both feet frmiy placed on the path in which was meant for him In fife. He is
inspiring his clients and classmates and will undoubtedly be 2 special AOD counselor. He seems to be ate
piace in his life where he is putting others above himself ang it |s clear that he is finding a deeper
meaning in fife in doing so. Tim's humility, resiliency, and attitude, show us how powerful it is when one
can re-take contro! of their life and use it for positive change. | would hope that whatever is in store for
Tim’s future that he be able te remain on the path that he Is on because our community will be for the
better because of it.

Sincerely,

\

Living at Reflections
Dominican University MFT Program {student}
CCAPP Program

iohn

 
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November 30. 2019

To Whom it May Concern,

| have known Timothy Meichior for almost a year and he has shown me to be a hard-working
and kind man. We are enrolled in the CCAPP progrem together and meet every Saturday for
classes leading to a California State Certified ficense in drug and alcohol counseling. Tim
consistently arrives early for class, does his homework and scores well on tests. More
importantly, he has a compassionate and caring nature, regularly heiping me and other
classmates with our lessons and projects. He is intelligent and a great communicator. Tim is an
impressive man; he is happily married and enjoys 3 special relationship with @ very supportive
wife and they look forwarc to starting a famity —| know he'll be 2 great father. He works with a
client that has special needs and Tim has made a hugely positive impact on that man and his

family; he’s full of ernpathy and kindness.

Tim Melchior is 2 dedicated student, husband and mentor.

I'm proud to call him my friend.

Michael Diblev

michaeldibiey1@gmail.com
$315-497-8136

 
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CCAPP

November 11, 2019

Judge William Alsup
Unitod States District Judge of the United States
District Court for the Nonhern District of Califomia

Your Honor:

For the past several months, Timothy Meichoir has been 2 student at the California Consortium
of Addiction Professionals and Programs’ CCAPP Education Academy. | have been his Alcohol
and Drug Treatment Studies program instructor during this time frame. While with us, Mr.
Melchoir informed his peers and this writer of his commitment to successfully complete our
educational program. He has discussed in earnest of his desire to become an addictions
counselor.

Mr. Meichoir has performed exceptionally well in all his courses to date. He has received an “A”
grade in each course and is currently earning this same grade in our current course.

Mr. Melchoir has taken a leadership role in our group interactive exercises as weil as in his
individual presentations; he is articulate, kind and thoughtful in his interactions with his peers
and with this writer. He has helped his peers with weekly class homework and in ciass
assignments. He has attended 100% of the weekly classes to date.

in sum, Mr. Meichoir has demonstrated his commitment te positive change, and | can only
assume he will continue to perform such in the coming weeks and months.

Sincerely,

Joseph Szlamnik, CCAPP Academy Instructor

(425} 742-1788

Licensed Professional Clinical Counselor #5684

Licensed Marriage and Family Therapist # 111010

Licensed Advanced Alcohol and Drug Addictions Counselor # LR 01330315
Certified Batterers’ Intervention Facilitator

 
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DABS

Develop Achieve Build Support

To who it may concern,

This letter is to share with you my experience with Tim Melchior as a supervisor

and a human being. Tim started his employ with DABS Inc. May 9, 2019 and since
then Tim has shown exceptional intuitive skills when working with the individuals
we serve, who are developmentally delayed usually with behavioral issues. When
assigned his consumer, Tim quickly identified his consumer needed additional ways
to communicate when attempting to advocate for himself and created the
opportunities for him to do so. Consequently, his consumer's unwanted behavieral
expressions were reduced giving him the more successful community activities on a
daily basis. Tim has shown a patience and compassion which has effected positive
changes in our consumers. Tim exhibits a great work ethic by coming to work on
time, completing alt required documents on time, and going above and beyond what
is required of him daily. If we had several other staff call off any given day he will
volunteer to go pick up and support additional consumers for the dav He will rake
these individuals to whatever activity necessary te insure they have had a good day.
He is always working to increase our consumers saill sets in order to reduce
maladaptive behaviors. Tim continues to be a valued member of my team.

RUNCORN oa sotee era

Thomas Siatton

GGAC CITPYCUP Regional Program Director
DABS, Inc.

Mobile: (415) $16-2018

Email: ‘ices. slatton@dabsine.com

Web: ww. dabsine com

 
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PTG Services, LLC

Roadsde Senice

January 6, 2019
RE: Timothy Melchior

To Whom It May Concer,

This letter is to notify you that Timothy was hired by our company to perform roadside service
to customers in the San Rafael and surrounding areas. Timothy worked with us up until he
was arrested last week. Timothy has done a great job caring for our customers, and it is our
intention to continue working with him if he is free to do so.

Please contact me if you have any questions or concerns. Thank you and have a great day.

Sincerely,

Tracie Gilman

Business Owner

PTG Services, LLC
Independent Contractor
Core Values Roadside Service
360-628-8483

 
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Your Honor,

First and foremost, I would like you for taking the time to read this letter. My name is
Dustin Melchior. I am Timothy Melchior's brother. 1 would just like to say a few words about
him and express my opinions about the type of person he is. Since we were little kids, up until
this very day, my brother has always been an extremely supportive person, He will always go
out of his way to do nice things for anyone.

Ile is always giving back to his family, friends, and the community. | remember a few
days ago he found a lost blind dog roaming in the streets near his house. He immediately
stopped his car and ran in the street to block traffic to protect the dog. He asked for my help to
iry to comfort the dog as the dog was frightened and shaking. He found where the dog lived,
which was only a couple houses down from his and immediately took the dog back to his owner.
The owner offered him a reward several times and my brother refused, He told the owner of the
pet “I'm just doing what I would want somcone else to do if my dog was lost” This is just one
recent act of kindness of many more that I've witnessed in Tim’s life.

Another brief example that I witnessed was when he helped a woman and her daughter
on the side of the road change her tire. It was part of his job description to help this woman, but
he offered to follow behind her with his hazard lights on until she got off of her exit to ensure her
safety. That is not part of his job description but he knew it was the right thing to do. 1 know
that my brother has had a troubled past. | know that he has flaws but he is one of the kindest
people I know. He has a heart of gold and would literally give the shirt off of his own back to
help someone.

Timothy Melchior one of the kindest souls | know. He will always be there for anyone in
a time of need with a comforting hand. Not having my brother in my life nght now is very hard
and I really hope he’s back with my family again soon. We all miss him very much and love him
tremendously.

Thank you for taking your time to read this your honor.
Respectfully,

Dustin Melchior
dustinmelchior@outlook.com
415-415-686-2829

 
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1/S/2018
Re: Tim Melchior
To Whom It May Concern.

My name is Barry Hincks, and I am the partner of Tim's mom, Jennifer. | have known of Tim for
10 years now, as I am an Idaho resident, and do not live in California full-time, but usually come
and live in California during the Winter. I would like the Court to know that over the past two
years, | have seen some amazing changes in Tim in that he started to work on his addiction
problems, and he was doing very well. I could see that he was really trying to make things better
for himself, and start to work on some of his issues, but I also saw how hard it was for him to
find a job due to his background. He hung in there and found some temporary work for a while,
but | could sense that he was depressed and frustrated due to his past record, and how hard it was
to accomplish his goals. so I believe this set him back. When J returned this year, | learned that
he recently had a set back, which is what has brought him to court now, but I would also like to
make the court aware of what I have witnessed over these past 6 weeks, is that Tim has been
diligently searching for employment daily. He took several side jobs, and he took a lot of pride in
the work that he was doing. For example, over several weekends, he was building a structure for
someone, and he came to me several times asking for advice to make sure he was doing the best
job possible. He was very proud of his accomplishments.

More recently, he found a full-time job in which he excelled due to his motivation to succeed. I
would respectfully ask the court to consider allowing him to continue with his work, as I believe
this is a key tw helping him succeed, stay sober, not suffer another set back and to turn his life
around, and become a productive part of socicty.

Thank You for your consideration and compassion,

Sincerely,

Barry Hincks
208-471-0062
hincksbS6@ yahoo.com

 
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Hello, and with most respect to the court, I present this letter in support of Timothy Melchior.

My name is David Haedt, and I am the owner of Haedt’s B/S shop in Novato, California, and I
have taken care of my ailing mother for the last six years.

My relationship with Mr. Melchior started about two years ago when I was introduced to him by
his fiance. He told me his life story and that is where I seen this man’s heart for what it is.
Timothy has came and worked for me doing side jobs at my mother’s home when he was in
between work, He has done jobs from a leaking faucet, to most recently building my mother a
shed for all of her antiques. From the personal care Mr. Melchior has put into his work I know he
can be a productive member of society again. Please consider an outpatient program lor Mr.
Melchior, so he can continue working on his sobriety.

Thank You for your time and consideration,

David Huedt

davidhaedv@vahoo.com

 
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Your honor | am writing you this istter In regerds too Timothy Meichior, | have known
Timothy for stias 10 years. | have seen him change from a careless insecure person on
drugs, who didn't care about anything or anyone especisily about himaeit . Once he met
my daughter he finally wanted to change his ways and he did .He wanted to he realized

he had to change hie circle of friends . In order to do good and not make the same
mistakes. He found the love he needed in help him eee the fight because he wanted the
bes! for himseif _ Life finslly meant something to him. we know his past badhgrachy Hels
constantly continuing to try to put that behind him thank you for taxing the time le read

this letter . | hope Timothy you consider a drug rehabilitation program for timothy

Michelle ann Frise Sunday, January 6, 2019

 
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RE = Character Reference tottor sane 6", 2019
IN : Support of

Mic, Timothy #, Melchior

Hello,

with the utmost respect for the court aod The powers Ural be, | present this letter in support of
Mr_ Melchior. White understanding that his ecard & not squeaky cleat, do advocate fur him today
My relaLierstip with hr, Meichive & bul about 3 yaars old. | met Timothy ulter he wes Introduced to
me thru my nisce. There was a time in my fe when i would have Seen the one before the court, hopin
sorrieone would tupport my efforts to rehabilitate, } wad never co fartunate and pearly aif my life
lessons were Inarriad face draggod in the streets stylo- At age 31 the clnuris ported, the fog lifted and |
was able (0 Begin 2 programm of surrender, | was able to finda 12 step program that worked for me.
Nearly 11 years later } maintain my Gear tone. Ido not use drags, | da not enqege in criminal sts, oor
condane tham, mor gossip them. After the drugs wort remaved completnly from my Ste what we all
discovered together was thet | was nat a bad person, | had a hig and bad prodiem. Since wetting clean f
have given back to others and society on many invols. Today at age 42 with 8 wite, daughter age §, 300
age 4 and baby boy dua Feb 12", mty life is darn good. Sut it required change on Nyy part and scene
inizacies alnng the way

i du not know the resuits, if any, this letter in support will yixld. ‘What t de knew & that peopic
need help and we néver know the exact inact an a person vat Netping them cen have. Timativy had a
few gnod jobs that did not work aut Sang term and was working rveé side Type jobs more rerentty, j
know he has. completed some sull-help Men's programs and ne was very enthised shout doing 46,
Thece were a fow times when 1 saw the ights start to really come on for this guy. | sul nave faith thet
he can be productive member of society. that he ci work and pay state taxes rather than D¢ 8 tax
burden to cur siete, That Mr. Muichior can tn fect make the great transitian frou) labllity te community
aiset. | would ony ask that the powors that by consider what % in fact more auspicious long teem 7 Can
we take mare sway from this situation by just making Timothy snuther oumber somewhere, # mere
sistisic ? Or is there 2 greater gotentiaity for 2 man to be guided and supported im-such # way that he
can finaly mreshe that tong turn around the comer, where becames that productive member of vaciety

and.can eventualy come full circle to help anathur person Only the court ltt anow what is Lest at this
tinvs. | ans seraty Mere to cay that people do change. 1 KAOW, TRAM coe oF Wer Furnes ly Kcown onty
9: CLICK # P-O7272. | am now known 2s deddy, uncin, husband, Drother, nophew aid Mr, Ravers.

Please consider a nun-detention rehabilitation of out-patient program: for Mir, Melrtior.
With only te most respect, for the Court, Your Honor, Federet & State officials.

Thank you

Tomas F. Rivere (707)-430-8765 Tormmansiveta2ea@yahoo coc

Marathon Petroleum Carpurstion ~ Martine: C3, Refinery ‘+;

Operstions / Utilities oy

 
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January 7, 2018
To Whom It May Concem,

| am writing this letter to you in regards to Timothy Melchior. My name is Samantha
Simon, and Timothy Melchior is my brother-in-law. | would just like to say that Timothy is
a good man, who has been doing his best since the day he met my sister. He has been
working very hard at a job doing providing roadside assistance for people in Marin
County, and this job has made his confidence in himself grow. He is feeling proud and
accomplished since he started this job, which has helped him stay out of trouble, and he
just wants to be a productive member of society and provide for his family.

| know his past my not be the best, but people can change, and | can see this change in
him recently. He has someone special in his life, my sister, Alexis, and he wants to, and
will do his very best for her. He is a very sweet and caring long man with a long life
ahead of him still. | truly believe that Tim has tearned his lesson over this past incident,
and | ask that you give him a chance to go into a program, where he can continue to
work at his job, as well as work on the issues that have brought him to this point in his
life. He is truly such a family man, and he is very important to a lot of people, especially
my sister, and my 6 year old daughter.

Sincerely,

Samantha Simon

 
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From: myra richards <mariposaiane? @’ notmai!.com>
Date: Tue, Jan 8, 2019, 3:53 PM

Subject: Re: Tim H. Melchior

To: Lexi Simon <LexirayannS4 @gmail com>

To whom it may concern;

| respectfully submit this letter and hope you will consider as a character letter for, Mr.
Tim H. Metchior.

| met Mr. Melchior 3 years ago. | find him to be a kind, gentle, affectionate and
thoughtful person. He is dedicated to his fiancée, Alexis (Lexi) Simon, his family, as well
as, her family.

| believe he is a hard worker and if given the opportunity, he can strive for a lifelong
positive lifestyle.

Mr. Melchior is not a violent person. He demonstrates a very calming and peaceful
demeanor.

| hope you will take this letter into consideration, for any action deemed appropriate.
Thank you,

Sincerely,

Myra Richards

 
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January 6, 2019
Re: Timothy Metchior

To Whom It May Concern,

My name is Jennifer Jackson, and | am Timothy Meichior’s mother. | am writing this letter in
support of my son, Timothy, and to respectfully ask that the Court consider an inpatient or
outpatient rehabilitation program for him-

As his mother, | know more than most people, the struggles, and challenges that Tim has been
through in his life: from his serious struggle with addiction to drugs at a young age, as well as
with the trouble that he has had with the law throughout his life. | am in no way making excuses
for the very poor choices that he has made in his life, but | would like you to know that although
Tim has had these struggles, he is a good and caring soul. Without going into too much detail, |
would like you to know that Tim had some very traumatic experiences as a young child. Growing
up with a severely abusive father, he witnessed many terrible things that left deep trauma, along
with being in a house fire that almost took his like, and did take the life of his great grandmother,
he witnessed this as well. As his mother, | did everything possible to help him get through this
trauma. We spent a few years running to abused women shelters to get away from his father,
and he had years of counseling, which | hoped would help him through ail of these things.
Unfortunately, these events took their toll on my son, and he got into drugs at an early age, and
became a bad addict, which led to all of the years of his trouble with the law.

| would like to let you Know that over the last few months, | have seen a tremendous change in
my son for the better. It is as if a light bulb went on in his head, and he has had a whole different
outlook on his life. He has been truly working on getting sober, and making positive choices in
his life. | believe that he is very sincere in his efforts to get clean this time, and although | realize
that he has had many chances in the past, | have never felt that he was actually ready until now,
| believe that he would greatly benefit from a rehabilitation program, and that he would be truly
successtul at it if given the opportunity. He recently started a new job, (which finding a job had
been tremendously hard for him due to his background), but someone gave him a chance, and
he has been working very hard, and doing a great job for the company, and he has bean
enjoying being @ productive member of society. | know that if given the chance, tre will continue
to do so.

Tim has a lot of support from his family, friends, members of the community, and his employer. |
believe that Tim is truly ready to make big changes in his life for the better, and given the
opportunity he can be a productive member of our society.

Thank You for taking the time to read my letter, and for considering a rehabilitation program for
my son, Tim.

Sincerely,

Jennifer Jackson

138 Bryce Canyon Road,
San Rafael, CA 94903
415-456-7677
jenjacks19@yahoo.com

 
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Dear Judge Alsup,

My name is Jennifer Jackson, and | am writing to in regards to my son, Timothy Melchior, who,
as you are aware, is currently facing Federal charges. Tim is currently living with me in my
home in San Rafael, Ca, and he has been living here since November of 2018. | am also
currently his Court Appointed Custodian, and | am writing you this letter to tet you know how Tim
is currently doing, 2s weil as to give you some background information about my son’s life
growing up, and some of the challenges that he has faced.

Unfortunately Tim's childhood was plagued with a lot of trauma, abuse, and death of several
very close family members. Tim's tather was a very bad drug addicvaicoholic, who was
physically, mentally and verbally abusive to me during the time that | was married to him. Tim
was witness to a lot of abuse to me, and he suffered abuse from his father as well. This went on
from the time that he was born up until | finally left his father when Tim was about five years ox.
During these first five years of his life, Tim watched as his father physically abuse me on @
reguisr besis, as weil as watched his father Go drugs right in front of him. 1 tied to leave my
abusive situation many times, and we, (myself, Tim, and his younger brother Dustin), fled to
Abused Women’s Shelters, but his father would eventually find cut where we were, anc we
usuaily ended up right back in the same situation living with him, and then escaping to either
different family members homes, or sheiters to be safe from him, His father went to jail severs!
times for abusing me, and | had restraining orders against him, but that never stopped him from
finding us, and then, starting the cycle of abuse ail over again. We eventually hac to leave the
state of Cal#ornia, and escaped to Abused Women’s shelters in Oregon and in Washington.
This was the fife that Tim lived in his early childhood years, and | tied to get him counseling for
all of the things that he had witnessed. He did have a Counselor at the Child Therapy institute of
Marin for a while, but it never lasted too long because we were always running.

After a while, Tim's father finally ended up in jail for drug charges, and we felt sale enough to
come back home, and moved in with my mom, and my Grandparents. Tim was very ciose with
my mom, as well as with my Grandparents, and he had a very good maie role model im my
Grandpa. Living with my family, we finally were getting setied, and Tim was feeling safe, and
less anxious about his father coming to find us. For a short time, things were going good, and
then my Grandpa was diagnosed with cancer, and passed away a short time later. This was &
very hard time for Tim because he was very close with his Great Grandfather, and it was a Dig
loss for him. Then, just 2 months after the passing of my Grandpa, the family home that we

 
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were iiving in burned down, and Tim was in the fire and barely escaped. My mom saved Tim,
his brothers, and tied to save my Grandma, but she was unable to save her. My Grandma
passed away in the fire, and Tim not only almost iost his own life in the fire, but he watched his
Great Grandma die in the fire. This was very taumatic for not only Tim, but for our whole family.
| suffered debilitating anxiety from this, and this had a huge effect on Tim as well. Our family
went to therapy after the fire, and Tim went to see a Counselor as weil, and was diagnosed with
Post Traumatic Stress Disorder. He wes 8 years oid at the time.

As time went by, Tim continued to suffer from anxiety and troubles in school. His father had
stopped chasing us, but the thought of him finding us and doing something to us was always @
worry to him. | remarried a good man, and Tim became very clase to him, but again, Tim
suffered another loss of a loved one when my husband, Tom, Tim's stepfather, passed away
from cancer.

By the time Tim wes 12 years old, he had starting using drugs and drinking, (1 did not know that
he was using drugs or drinking at this time), and he hid his drug use very welll for a couple oF
years, Sut by the time he tumed 14, things biew up very badly, and his life went completely
down hill in a short amount of time. | had no idea that my son was so heavily into drugs, and he
basically went from using mazijuana to drinking to using ecstasy and crystal meth, He basically
would do any kind of drug he could get his hands on. He was suspended from Middle School,
sent fo Juvenile Hall on several occasions, he ran away from home for days on end and ! didn’t
know # he was dead or alive, and when | found him, he would come home, and do it all over
again, Because of this, everything in my life changed, and my whole life became focused on
getting Tim off of drugs. and he became my whole focus, it was constant worry and Cespair. |
hecame a Co-dependent, and | would do anything to “save” Tim.

By the time Tim was 16 years oid, he got ordered to go to a school called ROP, whicn was &
few hours away from our home, and in a place that he would have a hard time running away
from. We visited Tim every weekend, and he seemed to be doing weil there. He graduated High
School at ROP. and when he tumed 18 years cid, he gat out, and eventually started using drugs
again. It was during this time, that | realized that | could not help my son. ! reakzed that he
needed to want to heip himself, and | learned to let go, and hoped and prayed thet he would
somehow “See the Light,” and want to change. Unfortunately, this was not to be, and for the
next ten years, Tim was in and out of jail/prison. He overdosed one time, and the EMT's had to

 
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resusciare him 3 times. The nurse in the hospital told us to take pictures of him on fife support,
and to show it to him if he recovered. Thanktully, he did recover. We showed him the pictures,
but, because of his addiction to drugs, he continued to use, and continued to go te jail for drug
related charges. | loved my son very much, but | had learned to accept that he was not able to
change, and i truly believed that he would never get off of drugs.

When Tim was released from prison the last time, in early 2017, he was very motivated to stay
clean and sober. He got a job right away, he finished his probation, and was spending a ict of
time with me and the rest of his tamily. My mom, who he was very very close to, was very ill,
and he was able to spend a kx of time with her after he got out. We wanton a family trip to
Disneyland, and my mom was able to come with us, and it wes @ great Dme hat was spent with
was another huge loss to Tim, and | believe that this sent him back to using crugs again, whch
led to his arrest this last time with the Federal Marshais.

Tim needed an inpatient, Gua! diagnoses drug recovery program to help him, and to help him
dea with the trauma and the things that went on in his life, and he was never offered one.
instead, he just kept getting sent to jail, where he just learned more ways of using Gmugs, and
getting into more troubie. | am wanting to give you this background information because | want
you to know the tauma that he went through as a young child. | am in no way making any
excuses for the things that he hes done in his past, but ! want you to know that for the last year
and a few months, I have seen a whole different Tim; one that | thought | would never see. He
nas become a completely different person, and has been ciean anc sober for over a year now.
He ix going to school to learn to be a drug and alcohol counselor, and he has a job working with
adults with disabilities such and Autism, end Traumatic Brain injuties. He takes a tot of pride in
his work, and In his ability to help others, and this & a huge motivation for him. He also got
married last year, and his wife is very supportive of him.

When Tim got into trouble this last time, Magiswrate Laporte was the one person who really, truly
listened to some of the things that Tim had been through, and she recognized that he suffered
from Post Traumatic Stress Disorter, and that he had never been in a reatment program. She
gave him the opportunity to be out on bond, had me de his Custodian, and had him go into an
inpatient, Dual Diagnoses Program. This hes been Tim's saving Grace. He took this chance and
gave it his ell, and worked hard in this program, and he is being a productive citizen in our

 
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society. | am amazed and very proud of him, and if | didn’t honestly believe that he has
changed, ! would not be writing you this letter. i realize that Tim is facing a lot of time in Prison,
and | wish that it hadn't come to this for Tim to finally “See the Light,” as | hoped he would have
done many years ago, but the fact that he has now, is what really matters. Now that he has
finally been given a chance to get the help that he has needed for so long, and that he is now
abie to start being a productive member of society, | respectfully ask you te consider Tim for the
CAP Program, | believe that Tim will continue to grow, flourish, and thrive, and that he wail make
avery Gay of his life count for the better.

Thank You for taking the time to reac my letter, and for considering Tim for the CAP Program.

 
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To The Honorable Judge Alsup,

I am writing this letter to you to ask for your sympathy for my plight and request that Your
Honor can find a way to allow me to continue in my edocation and in my career endeavors in
which I have began since given the opportunity to be out on bond. This whole situation with my
case has been the worst mistake of mry life, as well as che biggest blessing. Please let me explain
why.

Since my youth, i have been addicted to drugs, and because of my addiction and the poor choices
that I have made while using drugs, } have bees in and out of jail/prisan. I am not making any
excuses for my actions, and I take full responsibility for the things that I have done in my past,
but I would like to give you some background information about my life with the hope of
articulating where my mind frame was at, which I recently leamed about myself through my time
in the Center Point program.

I grew up in and out of Battered Women’s shelters where me, my younger brother, and my mom
spent several years running from my abusive father. My dad was 2 drug addicv/alcoholic, who
physically and emotionally abused my mom, and since I was a baby, ! was witness to this abuse
until we finally got away from my dad. After several years of abuse, my dad almost Killing my
mam in front of me, and then kidnapping my brother, my mom finally found the courage to
escape the situation, and find help with Marin Abused Women’s Services. We swayed in the
shelter there, but my dad found us, end we had to find other shelters to stay in. We went from
Marin County, Califomia to Oregon and to Washington running and hiding from my dad. After
years of this, we seemed to escape the worst of things, and after finding out that my dad was in
fail, we moved back in with my Grandma, and Great Grandparents. 1 was eight years old at the
time, and for a while, things in my life seemed to be going ok, and we were happy. i wes
extremely close with my Grandma and my Great Grandparents who we lived with, and they were
good to me, and helped to raise me. This happiness didn't last very long because, in April of
1995, my Great Grandfather passed away from cancer, and then 2 months later, in June of 1993,
the house that we lived in caught on fire, and burned completely down. At the time of the fire, 7
was In the house sleeping, along with my older brother, my Grandma, and Great Grandma. My
Great Grandma died in the fire, and I had to watch the Firemen try to get ber out of the fire, Dut it

 
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was too fare. My Grandma saved me and my brother, and pulled us out of bed and t& the outside
of the house, end then tied to save my Great Grandma, but she couldn’t.

Ar eight years old, I didn’t know how to deal with this death and loss that I had witmessed, as
well as how to deal with what my father had done to my mom and my and my brother. 1 started
getting into wouble. Nothing mattered at school, and as 1 got older, I felt | needed an escape, and
I was introduced to dmgs. This is when my life went from bad to worse. I looked for love and
companionship in misguided role models, looking for something, or someone to share the fear
and pain with through drugs. I started getting into more serious trouble through oat the yeors as
my addiction got worse, and I Suffered yet another loss. My step-dad, Tom Jackson, passed
away from cancer. Right after his passing is when more serious trouble started happening for me.
I was very close with him, and he was the only good father figure that I knew, so when he died, I
wanted to hide the hurt. ! wernt in and out of prison, and I asked for programs to help me, but to
no avail. I felt chat no one cared and had given up on me, which only caused me more hurt and
confusion. This went on for a few years, and the last time my lawyer had worked out 2 deal for
me waiving my year good time credits, signing to a joint suspended sentence of maximum,
which I believe was 6 years, in exchange for being allowed to go to a drug program for a year.
which would have been at Father Alfred’s in San Francisco, and at this point, I was actually
looking forward to being in a program, and getting some help. I had realized that I had a bad
problem, but I didn’t know how to stop. Unfortunately, at sentencing, the judge did not accept
the deal, and said that I had to go back to prison. However, I did not let this deter my motivation.
While I was in prison, I went to AA meetings. and stayed away from trouble. I truly wanted to
get bemer, and start to live a normal life.

In January of 2017, | was released from prisoa, I got a job, went to a Sober Living Environment,
and was doing good. I even completed my probation. During this time I stayed clean. I got an
opportunity to spend time with my Grandma, (the one who hed seved me from the fire), and with
whom I had aiways been very close with. I feel forcunate that I was able to spend time with her,
and J was sober doing it. She was very proud of me, and even though she had been ill for a long
time, we even went ou a trip to Disneyland together. ! was there with ber al] the way through ber
time with Hospice, and was with her when she passed away in August of 2017. When she passed

 
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away, I was angry and guilty, and 1 did not know how to deal with this loss, and I started secretly
using drugs again. { tied not to let my family know, but it was inevitable that they would realize
chat I was using again, and eventually my addiction got a hold of me again and life just stopped
Tmattering. After the passing of my Grandma, and then my star up of using drugs again, all of
the problems, (the Federal Indictment), that I am dealing with here in this court happened.

My mom and my wife have been a major part in helping me to become the person that I have
become today. Over the past year, I have been living with my mom, my wife, and my 2 sisters.
During this time, I have taken the opportunity to spend as much time as I can with them. I have
never been this close with my mom or with my sisters because I would be in and out of prison,
but now I get to wy to help my youngest sister with her homework, and interact with her and play
with her, ] am so grateful for che opportunity to be able to do things with them like going to
movies, walking our dogs together, and just being able to help with small or big things. I also
live with my sister, Dakota, who just turned 18. She is Tom’s, ( my stepdad who passed away)
daughter, and she did not really get 10 know ber dad, so today, I try to be a better role model for
her than I have been in the past

My wife has been by my side through all of this, even though I tried to hide my addiction, she
has supported me in getting better, and she cheers me on to continue to be my best, and being my
motivation to continue to be the best husband, best friend, and role model to my family, as well
as ty our God-Daughter, and continues to push me in a positive direction, which is the direction
that I now want to go in, so I can be all of this, and more when we have our own family.

| don’t know where I would be without my mom or my wife right now. In every sense, they
believed in me when no one else ever has, and gave me the courage to stop up to be an hones:
man, and showed me what unconditional love is.

In the beginning of this leer, I said thet this is the best, as well as the worst thing that could
have happened. I am looking at a lot of time, but when Magistrate Laporte granted me a bond,
after my mom and my wife agreed to be my custodians, she ordered me to an Impatient Program,
and Lam forever grateful to her for allowing me to do this. She looked at my situation, and saw
that I had never been given the opportunity to go to an impatient program, and she allowed me
the opportunity to do this.

 
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The Inpatient program had been what I have needed all along, and I have learned so much about
myself, and about my addiction, and it has given me a whole new outlook on my life. While in
Center Point, I started noticing the pattern. I did not know how to deal with grief and loss at all!
and I have had so much loss and trauma starting at such an eatly age, I was not able to cope with
my feelings that 1 didn’t even understand at the time. But I learmed a lot about myself in this
program. I Jearmed how to cope with my feelings, and through many writing assignments, group
discussions, and therapy sessions, | was forced to deal with my feelings, learn how to deal with
them, and get past them. This was my first opportunity to get into an impatient program, and I
took this very serious, and did not let this time go to waste. I am now 2 graduate of the inpatient,
intensive, out patient, and the aftercare program, and I currently attend a one on one therapy
session with Center Point once 2 week.

Like I safd, I did not let this go to waste, and upon graduation of the first phase of the program,
(which was 3 months into the program), I enrolled in schoo! called CCAPP because I want to be
a drug and alcohol counselor because I think that I can help other's whe have gone through what
L have gone through, and help them with their addiction problems. Several of the Center Point
counselors recommended me for this program, and motivated me to start this program. ! am still
currently attending this school, and I am getting straight A’s in all of my classes. | fee! as though
I have finally found a career where my past experiences can actually be a benefit to helping
others who are scuggling with addiction.

I have also obtained employment working with mental health clients, and assisting them in
socialization with the community, and with goals that are set in their Individual Service Plan. I
work with clients who have Autism, Down Syndrome, and Traumatic Brain Injury clients, end i
is the most rewarding job anyone could ask for. For example, my clint with Autism is non-
verbal, but we work together on a speech app, and he has said 2 few words since we started this.
it may seem small, but it is a huge accomplishment, and an indescribable feeling knowing that 1
was able to help him achieve this. Once I am done with my school, my goal is to continue my
education, and go to school for co-occuring disorders.

 
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I would love to be given the oppornunity to do this, and this is why I am writing to you, and
explaining to you my background up until now. I have over a year clean now, as af October 30,
2028, and with Your Honors permission, ! am asking for the opportunity to continue to prove
myself, and to defer to the CAP program, so that I may continue to learn and advance in my life,
and so I continue to help others, and to grow along side of my family.

Thank you for taking the time to read this, and for considering my request.

With respect to any decision from Your Honor,

Timothy Howard Melchior

 
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Sfosraban Lotter . Kalser Permanente

$5 auser PERMANENTE.
ADULT AND FAMILY MEDICINE

9/23/2020
lo Who This May Concern:

Both the Centers for Disease Control and Pravention (CDC) and the California
Department of Public Health (CDPH) have issued guidance that identifies
Precautions that individuals should take who are at risk for severe Hlness or olber
complications if thay ware to contract COVID-29, These groups are individuals
who are over 65 years of ape, individuals of any age who have chronic underlying
medical Conditions, individuats with dissbilities, or individuals who arc pregnant.

This document varifies that Thmothy Molchice (date of birlty 1/10/1886) is under
my cere and is being treatod for Hypertension, 4 chronic medical diseaze which is
one Of the mndical conditions specified by COC or CDPH as requiring extra
Precautions as he might be at an increased rink for severe Winess from COVINAS
Which can result in severe outcomes inchading death. It is recommended that he
follow current CDC or CDPH guidelines to avoid exposure to COVID-19.

Sincerely,

TILL PING WICHELHAUS MD
CA Med Licenne Ai472587

Thes fetter was originally viewnd by Tenothy A Meichior an Q0O/NI20 4g PM
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